 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Pagel@f{l- S!l%i l(p w

SZ~WSFM
SUPERIOR CO'URT OF THE DlSTRlCT OF CQIT__UNMBIA
b 7 CIVIL:DIVISION nw w l

 

ANTHONY S`M`ITH
Vs, C.A. No. 2016 CA 001499 B
DISTRICT OF COLUMBIA et al

INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § l 1-906 and District of Columbia Superior Court Rule of Civil Procedure
(“SCR Civ”`) 40-1, it is hereby ORDERED as follows;

(l) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original

(2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant
copies of the Summons, the Complaint, and this Initial Order. As to any defendant for whom such proof of
service has not been filed, the Complaint will be dismissed without prejudice for want of prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4(m).

(3) Within 20 days of service as described above, except as otherwise noted in SCR Civ 12, each defendant
must respond to the Complaint by filing an Answer or other responsive pleading As to the defendant who has
failed to respond, a default and judgment will be entered unless the time to respond has been extended as
provided in SCR Civ 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an Initial Scheduling and Settlement Conference to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings, including, normally, either mediation, case
evaluation, or arbitration Counsel shall discuss with their clients gm to the conference whether the clients are
agreeable to binding or non-binding arbitration This order is the only notice that parties and counsel will
receive concerning this Conference.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference w with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than six business days before the scheduling conference date.
No other continuance of the conference will be granted except upon motion for good cause shown

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each Judge’s Supplernent to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://www.dccourts.gov/.

Chief Judge Lee F. Satterfield

Case Assigned to: Judge RONNA L BECK
Date: March l, 2016
lnitial Conference; 9;30 am, Friday, lune 10, 2016

Location: Coultroom 219
500 Indiana Avenue N.W.

 

Caio.doc

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 2 of 21

ADDENDUM TO INITlAL ORDER AFFECTING
AL'I;“"MEDICAL MALPRACTICE CASES ' "

ln accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § l6-2801,
et seq. (2007 Winter Supp.), "[a]iter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the lnitial Scheduling and Settlement Conference
("lSSC"), prior to any further litigation in an effort to reach a settlement agreement The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC." D.C. Code § 16-
2821.

To ensure compliance with this legislation on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the intemet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
lSSC. Two separate Early Mediation Forms are available Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator
from the multi-door medical malpractice mediator roster; the second form is to be used for early
mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution OHice, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the M,ulti-Door Dispute Resolution Office.

A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least l0 years of significant experience in medical malpractice litigation D.C. Code
§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code §
l6-2823(b).

The following persons are required by statute to attend personally the Early Mediation
Conference: (l) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code§ 16-2824.

No later than ten (10) days after the early mediation session has terminated7 Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding: (l)
attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation D.C. Code §
16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil Clerk's
Office. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

Chief Judge Lee F. Satterfield

Caio.doc

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 3 of 21
Filed
D.C. Superior Court

w . . . . . 03/16/2016 12:25PM
rts-speiser Court of the i)xstrrct of C:)lamim\ clerk of the Court

CIVi`L `i)i"§"i$l(}l\:
560 indiana .~\\~‘enue, N.W., Suite 59{?0
Washington, .¥).C. Ml "I’eiephane: §`2{}2} 879-£133

 

 

 

 

Anthony Smitn
P§ainch‘r`
">"S» ease '3\§1}§)§'_\¢}‘ 2016 CA 601489 8
M'a..§"§`? § ($
l§§,lr':rata st -:ll?§ww ha
" s lfk§`eadaslt
SUS\*!M`{}NS

"i.`o the above named Defendanr:

‘r.’on are hereby summoned and required m serve an Answer to the attached (§Tompia'int, either
personaiiy or through an attorney5 within twenty (2€}} days after service of this summons upon you._ exclusive
of the day of service. if you are being sued as an officer or agency of the limited States Government or the
Distriet of Co'§amhia {.`s<wernment, you have sixty {`60} days after service of this summons to serve your
Answer. §§ copy of the Answer must be maiie<i to the attorney for the party piaimi'f’t’ who is suing you The
attorneys name and address appear beiow. ‘tr"pia:intit`t`has no attorney a copy of the Answer must be waited
to the plaintiff at the address stated on this Sumr.z:ons

You arc aiso required to file the originai Answer \\j~'itli the Court in Suite 50&`§{§ at 500 indiana Avenue.
N.W.._ between 8:;`>{}§1.;¥1. and 5:00;2.;)1., Mondays through Fri<§ays or between 9;00 a.m. and 1`2:00 noon on
Saturdays. You may fife the originai Answer with the {`.ourt either before you serve a copy of the Answer on
the piaintii*f or within five {5) days after yca ha ’e served the plaintiff if you fait in tile an Answer, judgment
by defaait may be entered against yca for tire rei.iet“ demanded in the cnmpiaint.

__._“B“i.<.;aar§.laaa§n C"'@""k ",
Nasm »:)'E`I‘§s;'nii§`:f’s Attc_zrney ,

1629 K Street NW Suite 306 ts
A§dress

Wash§ngton, DC 29806

{57?} 238-988‘¥ new
`i`e§ephone
BSR§\§'.§?}' §§ §292§ 3?9~4$28 \z'eni§ez SBM‘ au {5,'&2} 8?@4828 pour lane tsad=.m§sm ")'e ca zm‘.i‘i\$§ sin-h hair get {382) &?§-482&
’es'%¥ firi/~§H, team srs~¢szs § ==.:f§"§§x£:a merits ~?\cw“ ami-N- {2023 sawesz mem

 

 

¥MP{}R`§`ANYI`: .¥i`~` Y`(}ii §“"Aii, `i"i_} i`~`}`i.i€ .s\?*»"‘ ,-§NSWHR Wi`fH,-TN TH`£~I 'i`§.§\-i{i S"{`A`l`{‘l}} :\B()V`i§, {)}Z if", A§"'{`I~'.`.R. \"`(){_§
ANSW{€R Y{}i.=" i.'~'-\%i§.. "§`{) A§’PEZAR s"§`\ A`NY "E`ZMH ‘x"¥‘i'iz`- "‘{}l.§R'i` NO".§`§}"¥§ES Yz’(}"i.§ `l"() {}O S£f}., t-’i .}i_§if}{.`i?vf}.'i-N`i' BY §§EF,-’\ULT
`M.-'\Y B§Sl BN"§`ERED A(`i;_-§l`:’"€§".!` ‘r.’()i._§ i"(}R TH`£~Z M{).=\’EV D,~'X:\'§¢"\Cii?l$ i`)R {)'§`}'II€R RE‘.§..€I<I}"" I}RMANE)}SD IN' '§`¥.~li€-
COh/SPLAINT. §l" '}".I~HS t}(l€'£j¥lf~i` \"()UR WA£`S'ES ?\'iA‘r` BE .-'Yi"!".»'§€"£{§'§) O`R \\~"i".f`i“§l~i`§}l{,lf) ()R .{*I€RSONAL PROPER'{"¥’ 931
REAI,- i".`-S"§iA'§"i".`- Y{>t£ (} WN !\"§,~\’t" BE '§`.-'-*»KEN AN§.`I SO.§`..§} 'i'(} FAY "l`i‘i§i J{.§[K§i?v‘lfiN`:ft l`£" Y`t}{§' }'N'§`}C~L=\`:`.f) `YO OP?U‘SB TH}S
AC'¥`!{}N, D<") l‘\i{`}?`§`»llr", T() ,»t?\~'$`§‘v‘ER W?'I'H}\ THE RE(FUIRFD ?"?MF.

 

¥fé"§-rm wish to talk in a lawyer and feet diaz you cannot afraid tn pay a fee re a taw§.=er. pipinpt§y contact one nfthe offices tafthe
t.egai .-'-’\it§ Snciety {202»828~§ lél} er the ;\‘¢`-e§gi':§mr¥ws)<£ §..ega‘§ S¢svit:e:z {_2`¢1§2~279~$!00} for help ar come w Suite S.KX!£} at 500
indiana .`~s:s=emie, N.`€¥._ for mere in§)rsnaticm concerning phases where yes may ask for such hc¥p,

See. reverse side far Sptmisl‘. v'ansiat§aa
Vea at came ¥a smdncc§én at esparqu

R)Rz\§ $(.=“='\'§M¢')NS - §an. 303 l £?A$L.~"§s§,doc

 

 

_$_ Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 4 of 21

TR!BBNAL SX.KFERIGR I)EL DIS?RITO viii £‘EQ'LU`MBKA
p'wrsxé;\= c:'mL
S{N} indiana A\'enue, ;\’<W.. Suita 58{§0
Washingmn, B.C. MI Teléf<mo: (21§2}8'?'9~}§33

 

 

`I)axsma»:im:.e
comm

Ncin}€~:‘<s sic {.`a.’ss>:

 

 

 

'{}<?mandsdo

{`,`IT_AT()RF{)

   

AI susocfic§m Demandado:

.~&z"~'< .:Z=Z-..` l

Por §a presents se le c§ta. a comparccser y se le require emmgar ana Conteszac~iéa a Wman§a a<§§unug sea en
pcssona. ix per media cfc un abogade>., en e§ p?§zo de veinte {2£}_3 dias cmrados de "és~ qzxe u§` §§sz reci`§z§do cafe
ci§a.tc)rio. exciuyendo e§_ d¥a misuse de ia entrega de§ c'ita:`im‘§o. SZ ustc-ai mix sien_zi<_)'_ ¢ mdad§ §§ ca¥idad de et")cial 0
age»z:ie dea {`ie>'bicmo dc iep E.sia<§ps B`nidos de Nomzm)érica o def (3~<)§)§€:1:{~`" a ~ ` >_§se`?\‘{;o§umbia, dane us:'e<§`
sesen£a (6£}§ diaz co.xsta:ios después qua used `§xaya z's:~¢i§>iaio esse cita§{>rio_?§z§\ _ Cioatestac§én. Y!`iene aaa
envi'arie par correa ana papia de so Cs)s)testaciéa a§ abogadc» de la par`r§."* . . v ¥:`.§ p.csm§>w y direccién dei
3502&§°~ &§>&rccex; a¥ Hnai de es!e docunien§c». §§ a§ siemax§d.ado no ii ` '»"'Z;\ze cnviar§e a§ demandame ama
copia de ia Com<:staci:`m par correa a 3a direcciép que a;§rec¢ en es

  
   
    
  
  
 

§ u;~:ie<§ wmh§én se ic require jpresena:r ia szt`eszaci§n ori §§§{`r§buna{ ca ia {}ii`ciaa 5900` siu> en 500

indiana .A»@eszzse, N.W,, entre §ss 8:3€}' a,m. y 5:®';).:\1¢ deg§&\s. 5~

§c.vs sabasios. Us~tecf wade psesemar ia C<m:estwci<$n 4§ri§;i;z')";z§l §}'>*"`.!'uez ya sea ames que- i`..§sted §e entre-gass at

dcmam§an'€e ama copi_a de ia C<mtest`acién 0 en e§ piaza) .`.. chico (ng las de baharie bache ia aimeng ai demandame. Si

aimed §ncumpke con pwsentar ama Comestacic"m`s£odrk£ "§a@am fa§io en rebe§ds'a comm us:"e<'§ para ave se haga
ef%:ctive e£ desagsa\~'ip ipse se buses en la demaM » "`"

Nz)m§>re dsi aboga<§s)<'§¢,`: §.`)en‘.ap<i`ame ~ ` '\`

.~'5?"~~ \>.`RR ~>`:~$` __`_.
.~::~ - ~;r>"
.-: ' .'-"
. _ `_ n
. ' "~‘>.~`. -""“'

  

     

 

 

S:€"C.`REYZ~F RI{`_) IBEL j?`RIB L".-’*§}~i£-

 

 

 

 

 

 

    
  

§>i:recci<'m Subaecsr:laria)
Frca:ha
.I_c§éf;;)n(? .;;_\.3>~'~2$;§;;;?%:>`\ `~._:\_._~
D$N~;§~§.§?§ §§ <202; a? _"° .a §§ vwznez mae ap :_232'; a:§»zaae gmc me mcmann .;)$. m ma aaa d;¢.a.. §a\- ¢,¢: am 3?9~¢828
W°-*¢& §§ ii '- §§2_;>3?§~4323 § E§§§ N)'\!S F)wm¢‘ -¥-cw' wa*i#- iac-zzsmsza anna
.;.-\":'w' ` '> d .`:s~'.~+`°
cM;z><)R'§`A;\ §§ §ST£B i\<;z,\.§i*n {.`ON P§<§I~;SHN'§`AR. L§N_¢~\ CGNI`§STA£.'§ON I-;N §1~:§.. BI.AZO AN‘!‘}E;S

  
  

§§ }§.¥§€(}{} f}§€~ CO§\Z'}`:R-$".{`AR¢ fE'S`¥`I€I) §\'~'{f? L"{}?‘vi§’s's.§{§§€.§§ {fl.?.AN`DO i.-}§ A\"iS-`E § !{§='Z.G~M)& PODR§.=\
D.i{I'Y,ARSH i.§N FAI.. _ ~§§`.`{\` RHBEI..D¥"A CGN"“§"§Z,~*.\ §.?'S`§`Iz`~§.`} F;.'\R.-\ QUE. §§ iii {.’UBR§X- }..~{35 I}A>\~`~`OS ‘r P!‘R.}f.§!€¥()$ ij {)`§`R()
fi)}§$s\§}'f{:§`&#'{() Q§`§§€ .: 3 B§ESQ§}E {~`;3\`-` I..§\ I)§}f:\~i.€-‘<»NDA. " ~.`-S'E`{`)` {)C`L§REE._ }"{}}")R§AN RI~Z`J.` `§ER}'..§.".` S{.'='S ¥NGRY.${}S. {}'
}’if§}f)§{}..-‘.\?*~E "f`§')M./‘\R 5\.-"$ BH" " -S PI‘§R.S()`N.`-*\jl.f{~§$§ i_} §{.-§ §\.` Y VI{-?~$I)ERL{`}S I’AR!& §~*A.AR I€l.- F.»\§.,§.O. §§ US".§`E;D
PRE`}`BNDE UPO"R§{‘B} A f§'l.S?`§`.-<’s. ..'\(.`.C§('}N, .N(I§ D.";`..»’§` 333 (`i`i`}-\"L"E;\.`?l»~i.z"§ 2’,,-‘? .§'}£~3.=§£§~!=¥£)..»§ s‘.il€.:’»="?"§<'¥) DEL f‘fa=f.ZO' E.¥`x`(-}'IDO.

 

 

`

     

Si ciesea converge-v app ';m a§><:gsxd:.) y is pare<:e que m pleads af`a'<s:ztar <:§ c<ss§<> de ;sz:<», i§as;\c promer a ama cia s)ues£ras s):§`scicms' del
§,.ega§ _»‘\E<§ Soc§exy (2£1'»'.'3~628~1§6§; 0 §§ Ns:ighporhaosi §.ega§ S-:~:\~'§-ces (2{}2»-2'?9~5£{30`> pass peak aym§a o \:'eng_a a la Dt`a:.ina 5§}0{§
da§ 590 v§a\;<§§aaa .»‘\vesms':, `~\-"\%` para §n:{§)rmarse <§e aims ¥ugas~es 1302-de pue<§.e pedir'~e.y=.sda. ssi rcspecso.

’v,’ea ssi §<zs\;;{z §§ z)r§§;ixea¥ en .iczg§és
Sc-e reverse safe far éfi,rs§;'£§sh <sz'igirzaz¥

¢`.,`AS{.=`:\{.G`<>¢

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 5 of 21

Saperim' Court of the 'Disrr_ir.t of Coiumbia
CIWL .{)IVISION
500 Indizma ¢§\=enue, .N.W., Suite 5£§0()
Washingtem, D.C. 230!}{ Tl`e¥ephs)xw: (.202} 8'?9~'£!33

 

Anthon§.# Smith

P§sx§.m§‘f?`

‘/`S. Ca§c N[,n}m§ 2016 CA 903499 B

 

'}'he {>istx'ic! cf Cc:~§umbia, Sezve' Kari` A. Racine‘ A.G\
¥.`>€:.§`em§ax)t

 

SLZ`MMONS
'".f`<) the above named ¥)e€`enciam:

Y<w are hereby summoned and required to serve an Answer w me attached C.<)mp¥aint, either
personai§y or through an attome§=', within tw:::n\*}-‘ {2@} days after service af this summons upon yau, exc}nsi\»~e
of the day of service ¥_f" ycss; arc he§z§g sued as am officer m agency of t§§e 'United Smtes Govemmem or the
Districi §§ Ca)iumbi.a Govemmem", §»-'»;zu have sixty {6{)} cia_\_-'s after service s:n‘.` this summons to serve your
Answer. .»X copy of the Answer musz`. bee ma:i.¥ed w a"he a£zome_\_~‘ for !.he party piaizmif¥w*`ho is suing ymx. The
attorneys name and ad<§r¢:ss appear be§ow. if p§aim'ifi’ §§as no az>:<>mey, a. copy of the Answer must he ma§£ed
to the p§aimii"i`at me address stated on wis Summo.us.

Y'ou are aim reqz's§red 10 fife !.he originai Answer with the (.Tou.rz' in Suize 50{}{} ai 500 indiana .¢\.vcnue,
NW. bmween 823{} :=<.m. and 5:{}8 p.m., Mrmdzzys mmrng Fx'idays or between 9:01'3 a_m. amf 12:0(}§100;1 on
Sa.m_rdays. Yc:u may me the originai Answer wii'h €h»;'. Cs;mr‘£ either before you serve a copy of the AnSwe-r en
the plaintiff or wi:'hi.u five (5} days after you have served me _p`¥aintii`f. if you faii m file an§\nswer, judgment
by defau¥t may be exxte;‘ed agaé:xsi you i'*e>r the rei%ai" demanded in she c<)mpiaiz)z'.

 

 

 

 

 

 

.......3§§§§;§..IMH
=“»iam\;‘ c»§`f?§a§s;_tii:'§`s :~*\‘:zs_)rne}’

1629 K Street NW` Suite 380 §§ ______ m _“ m n n
Ai§<;¥c"css

Washin_gton. DC 290€}5

{5?"§} 2?6~968‘§ Daee
"!`e§ep§;<)rze
m§§\§_§§'.='@§it! {21)2} 3?`9-#826 vess§zez appeth am mm srs-628 mar ana xm¢ucxm §§ s msi ma sued my gm §202_) srsmazs
BQ$'B §§¢B%I~¥'E, (2»32} 8‘€9~:328 § Q§$éé»\¥s. swvc’s’ -}~z:z~s“ Q~Y“n‘v¥- <2@2;-8?914323 mem

§§.=.\'EP{)R`¥`.~<\N¥`: §!\` Y()i..? _§“`_~<\il... 'i"(`) %`"fi.{-l &§'~€ ,€§.N£\.'WER ‘s’\~"`§"§`}~§fN` T§~EE`.`. `¥`f§?s~'f§~l S"_§`_.=\`f`fi~l{> AB()V£~E._ OR I}`~"__ ,<\{¢‘)`IER Y<)'!.§

=§\d\\§R Y ' §YAIL `¥`Q .-'S PPE,~'\R ,~’\"{` .1~\_?~§ ‘¢" `f{`§.=‘.eif~?. "{`§“H~;`. -(.Tt`}{l='£{'!` N`{)'§`}FIES ":"Of.§ `¥`{3 §`)O S~O`., A 5{.5`§')(§:\'$¥"`~?‘3'}` .H\:" vf)}}f}`~'.\~*\&,"`E.`I`
M\-\Y B}Fl }ZZN`i`§€RE-I) _.~"`G,=§¥NS`I` Y(){.§ }`~`{}R 'Yf`§§f€- s\/§`{)N¥'§Y §§A:\~`IAGES OR O"§`HER REL.{}`:I}`~` §)" ANI)i§-I¥} !.=.\ '{`HE-
C'<JM§*!.._;‘;§N"{". ¥'¥" T§ii'$ {`){T{T{}§{S, YKZ}UR W.+XGIES MA\:" B§?j A'T"{'s\(.`f'i§li) {}R Vv"l"£`_{‘§HEI.D ()R P£~` ` ' =`Ai`. {*R.{)P§ZR'.`§"!’ {)R.
RE.~*\L E-S'¥A`{`E `£'*I`R.¥ (}\"v"=\.‘ M.»‘\j§’ B.f';` '§'AI~F..EN .s§=\ED S{H_~I) `I`{} PAY `K`HI~I 3{}1`){3?\*¥}3'?\§"}§". .{}"` \',"{)K§ §N’§`}}.'NI) "§`O {}I’POSH `i`I~I§S
.‘§C.`-`i`if},\?, 30 NO`Y’F`»§II. '£`c") A=¥"S`WER ¥§"ITHIS\" 'I'H.E RKG{;'§RED T!l’»~i'F

   

G

 
 

B:£`ym; wish m mix m a §aw;.-'cr ami §"e.<-.§ thai you cannot aé?.`»;zrd w ;>::§ a fee 310 a .§szrv\.~;¢-'ez'4 ;>rs)mg)tiy annum ama ofth <‘»§"iices 0!"1"3‘.¢
i,<:gai md S<scze!y §§‘§)L~’.»{\.ES-'§§&i} car the Ni:§§i‘_?>.<.)r§mod _i.cgai, Servi.cees §`2{§2-2’?`??~51§}0§ ii)r hel;s cr came m Sui§e 590{`) ai 500
If!$wm‘~ r\\'¢'f¥\'='<»'.~ NW»_- f`€~‘!' more inili>s`¥.sm§i\`m mmcr.=zis;g pi&sr:$ whs)!~.': you may ask §§).r such ha§;>`

Sec' z*e\-'arse side fur S;>acsi_sh manslai,§<m
35 a a§ dorso ia t:'az§ncc§e§)x iii espasf§\‘§i

FGRM S‘i:'dfk'fl`\`¥\\ - 331‘.. 2(5 ii i`;`:‘\$`i§d$`.\‘§£*i

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 6 of 21

TK{BUNAL SU,P‘ERI(}R l)¥ll 'f}{S'IRI’§`{) DE COLUMBIA
Df.¥’iS`{`ON Cl`i~"{i;
590 fndi.~xu.a .~¢.x-'enue, N.`W., Suite 580{3
Was¥)iugmn, D.l'). winn '§.`c§éf¢)nm §`2{)2) 8394133

 

 

Dem:z:;d&sic
£$$}.D EI"<’E

N‘;zme,rc) de Ces<):

 

 

 

`f_}s::)smc¥ado

CI'{`.A'!`UR}O

   

A} sus<)d§chc» Demandad~o:

P<sr ia preserve se ie aim a comparec<':-s‘ y se fe mcguire en§:re.gm ama Comestac.iéa a _ m;'m'§;x. ad}un'€a sea en
pemm:x 0 pay media de un abogas§a, en vi plane de weissr¢ {_`2.£§) diaz contast dea ` '.s <§ue it __ -~§"ays racibido me
ci§.\zmrie>, e>z<:§u§~'en<io si §in z)f\§smcs de la cnirega de§ eitamr`io, Si ussed esi;i siemi,<i: 4 ` ndad<';%é?i ca!idad de oiicia] 0
agente dc¥ {`:’obierno de 505 .¥Es§'ad.<ss f,§nidos de 'N`<zrteamérica s cie-§ G<x?)iem_' +`°§§ ~ - §'Coiuxsxb£a, deem med
sesenta {6{§) dias coniadc)s» de§'pués que us‘;ed Ba§~a rec-ibids) es€c< citatori<),_,. in "' v!a`%gar . Cc)m\esiacién. Tiene qua
envi;zr§e par cowen ana cop§.a de s\i Co-¥§£esiaci{'m a¥ aboga§do de ia pzxné§ !__e. §§ nami>re y dimcciéz) del
alongside apmeerx ai f§rca! de esso da)cz)mem:). Si \~:§ demandado no tiesxe' ab<:" ' "`"quc es'vis<r§e 33 demamiame nms
copia. de ia Ccvmestacién par comm :s. ia di_recci{m qua spare-ce en esf

  
  
 

   
    
  

   
 

sic __
A exited iam`t.>i.ésx se ic 'reqz.s§§e §resenmr ia C':ontestae§ _n eng _ a$§~i?rsbunai en ia {}§<;ina 5€3{}0` s§to en 560
indiana _f\venue, N.W., entre las 8»:3£} a.m, y 5:€3£}' _p.n§., dc__§§§_e; ' __v§eme‘l -o én§re _§as 9:90 zs.m, y faa £`.-'Z:O(} de.§ mediodia
ios sabados. listed pleader pressmar ia Come.§taci{m §irigirs`é:{`” "j W§;;$:".'§uez ya sea ames que i_E`sted ie entregue 33
demandame mm c<)pia c§e 13 Comestsaciém 0 en ci piazza _` _c§zz<:e> if$__f) dias de .§)~a§)erie kee-ho ja eaxi.aega ai demandame+ §§
meted incum;)§e con prese~mar ama Comes£asién,§§o<§r§e§~~: ct_zsrs§§im fai'io en rehe§dia comm ust.eci para qua se fraga
e’é`ec-ii\,-'o s1 desagrav§o. qua se bus<:a en §§ ziema '. ` ' >“""
§§ sg<:rxm:~mlr.;> I)E;:. ?Rma.¢;`v;qz.

 

 

?\~o.mbs~¢ d¢§ azi>ogasi<) def D<::‘=mssdamc

   
 
 
  
 

 

 

 

\¢\~\¢
*=s:. ""\:~'=:~ P<)r~
§.}m:ccem §§ __§_ bubsccs~c:as~u)

 

fica-ha

 

 

T¢~.‘.¥é:‘”om _:_5:,:=~ """* ' _
Ms§§..§=?§az€ zzez; a?§§`_-sazs ~\\ veé§w maker au ~:2023 emma pew m ua<me<m w ma miss w d§¢.§.. siz¢- m {292; e?waze
` ‘ '202; e:>?§ms § >.s:>a:'~¢='»sz§:e vws:v.* »)~cw° N-)~r‘;§- may s:wezs MM~

  
   
  

§§ ?:.{.) I'N{_.`-`i.§:%‘¥}*§`.§:l CI{:!N PR;§§'.$ENTAR is"N.f~\ Ci}?\""i"€$`l`§\{;?¥(§:"€ I€;\" §F.{_. PLA'ZC* ANT¥_§S
_ SI I,{__ '*.C'z() D%Z (.`.(}N"§`}SS'}",-"\R,. ¥.`_. `§`}.`éf) N`(} {.`()-.\*IPAR)`I‘§(.`.R {.`U,¢XN.{){} §..§"1£\'%"_§31€ ¥3.`§.. .¥IEZG‘A.`I)€},. P{)I)Rir'\
I}¥{.'ff`ARSE-. il?`\"~€ I"A'£ ' - R}I~ZBI~§!' '}i»\ {f?(}.`-’.\i'§`§{$. ` ”§`E-D PAR.~¢. Q§_.?B \E I.Z~l C~f`}BRH i..{f)§$ ¥}.AS()S `s" Z»‘I~ER.¥`£.JSCI()S Z..= €)’E`RO
§)HSA(_;?R..<\\~"§.{) Q'\ - b »` B{.YSQ{.§E }`~"..\‘ §l.:?». I){~?MA\ §)A. .“3¥ I:`~S'¥"() OCI_.*`RR§~;Z Pv.`f§`£)§{§`,s¥?`é` RE'}`I-$N§?.R§..¥.". SLES iNGRESOS. {}
.?’()DR§AN '}`(IMAR_ .‘~.`»i_§.‘§ B{}}I-NI~_`.S PERS(§N.~'-\I..E§ {} HL`<\¥CRS Y V§"`"*€DI*ER§..-{)S I’="sl§{./X .I’AI`ISAR RI. 'I~"Ai`..{..(}. §§ L?-."§»‘°f`E-f)
§§R§E`_I`§SNDE DP§};\=`HRS{:Z a\ I`S'i§ §\C(.`~ION, §§"`G §3."'.¢!§5` }.`£‘.é`~' (f.’€fl-\"v`¥`&?k*l-§R !, -'§ 1.")!‘.` -HL‘§\"`. . " . 3 § "~I, i'x‘_ ' `

M'i`~".;\"{_`.' 3()'?\§..~’\§)('),

   
  
 

    

\/szz;) mr #:)_§;.

     

§§ <s`esea comm er can un aémgado y ie- pawce qua ma made ai§'<»c;tw c§ com eis \sne. fiasz proven ex gm de- nse-sava o_iEcirm del
Lag.ze§ Ai<£ S¢>~cie§.} 203»628'§ 1613 c» ai Neighhari}m)d i.egai Scr\-'i\:.es EZI§B-R?§¥~jk¢.`}£?} guam pcdi'r ayuda 0 \-'enga a §a f))"icina 5£)0§>
$\\\.;-_ 563{1\'§3§§£2:33, A\~"e.mx€r= \_.\\=`.. pma im`czsmas's:: sic aims j§agszsz:s :é;>mie pineda ;)e.z§§.r ayuda 223 rcs;>m:m,

~

rs
".

Veas al dowd §§ <srigi;m§ en §ng¥és
See. reverse side ibt f~.`.n;g§is§‘s origina

-¢;`..A;§U M.d<)<

   
  
  
   
  
  
 
    
   
  
   
 
   
  
  

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 7 of 21

- sUFER”`I€“)"'”RC`*d"URT 0F THE D'i`§'iRICT“"("j‘"F"`E:OLUMBLA

CIVIL DIVISION
Anthony Smith *
315 Anacostia Road SE
Washington, DC 20020 *
Plaintiff, *
Case NO_ 2016 CA 001499 B
v. *
District of Columbia, *
441 4“‘ street NW, suite 800$
Washington, DC 20001 *
Muriel Bowser, *
1350 Pennsylvania Avenue, NW
Wash.ington, DC 20004 *
Offlcer O’Mahoney, TDID #702498, *
Offlcer John Doe
300 Indiana Ave NW #5059, *
Washington, DC 20001
*
Defendants. *
COMPLAINT

COMES NOW your Plaintiff Anthony Smith, by and through undersigned counsel,

Richard Tappan, Esq., and makes this Complaint against the above Defendants, and for cause

states as follows:

»'wwv";;:.."z ' ~‘=\~=' »<¢.'4~1~"“»"""":: _"_ '=";Y": _f".' .' ',,'.. ..

  

 

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 8 of 21

' "' t INTR()"'D*UCTI“'GN ANn"_P'ARTiEs
l. This is a civil action seeking compensatory and punitive damages against the
Defendants for assault, battery, intentional infliction of emotional distress, and other tortious
conduct all in violation of District of Columbia statutory laws, common law, and constitutional
law.

2. Jurisdiction of this Court is founded upon D.C. Code §11-921 and §13-423, and
under 42 U.S.C. §1983.

3. All of the acts complained of herein occurred Within the District of Columbia.

4. Anthony Smith (“Plaintifi” or “Mr. Smith”) is a 50-year old African Amen`can
resident of the District of Columbia. Mr. Smith has no prior criminal record.

5. Defendant Ofticer O’Mahoney, TI)ID #702498, is a Metropolitan Police Officer
and was so at all times herein relevant He is sued in this case in both his official and individual
capacities

6. Defendant District of Columbia (“D.C.”) is a municipal corporation organized
pursuant to the laws of the United States.

STATEMENT OF FACTS

7. On February 27, 2015, at approximately 8 p.m., Mr. Smith was in the vicinity of
the corner of 37th Street and Ely Place, SE, Washington D.C.

8 . Mr. Smith was sitting at a stoplight at that location in his vehicle, a 2002 Cadillac,
and saw Defendant make a led turn up 37th Street. At all times, Mr. Smith was obeying all
pertinent traffic and safety laws and was in no way participating in any illegal activity.

9. Mr. Smith then made a legal right turn at the stop light.

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 9 of 21

ll. Mr. Smith saw the lights, and sought a non-obstructive location to pull over.

12. Once he found an unblocked location, he pulled over his vehicle

13. Defendant parked behind Mr. Smith’s vehicle, exited his vehicle, and approached
Mr. Smith from the vehicle’s left-hand side. d

14. Defendant aggressively demanded that Mr. Smith roll down his window, but Mr.
Smith told the officer that his car window motor was broken, and gestured to indicate as such.

15. Defendant immediately became hostile, and told Mr. Smith that he would break
the window, and brandished a police baton.

16. Mr. Smith again tried to inform Defendant that his window motor was broken.
Rather than permitting Mr. Smith to open the door himself, Defendant immediately thereafter
opened the unlocked car door.

17. Defendant pulled Mr. Smith out of the seat of his vehicle, and in the process
struck Mr. Smith in the eye five to six times with a closed, gloved flst, after spraying him with
pepper spray directly in the eyes, all While restraining him by grabbing onto his shoulder. Mr.
Smith offered no resistance nor made any disparaging remarks toward his assailant

18. At that point, Defendant then placed Mr. Smith on his knees and handcuffed him.

l9. At some point prior to Mr. Smith being handcuffed, around three to four
additional officers had arrived.

20. Mr. Smith was placed in a police cruiser, and was taken to United Medical

Center, Where he Was treated for his injuries

 

' ~10~.' ' ~~ ~-Aaerhe remed, Defendant made a U-mm and beg”a'n" iia'§hing' his"ligiirs mmr

 

   
 
    
   
  
  
  
   
  
  
  
   
  
  
   
  
  
  
  
     

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 10 of 21

211 ' Mr. Smith suffered 'a cut above his e`ye’, an orbital fracture,' and was ’concussed by l
the blows to his face.

22. After UMC, the officers brought Mr. Smith to George Washington University
hospital, while still in handcuffs

23. After the hospitals, Mr. Smith was taken to DC jail, Where he stayed overnight

and into the 28th of Febmary, 2015.

24. Mr. Smith was “no-papered” from the jail, and never appeared before a judge

prior to his release from jail.

25. Mr. Smith now suffers from unexplained headaches that were not present prior to
the Defendant striking him in the face.

26. Mr. Smith states that he suffers from mental trauma, including nightmares, and
thinks about the attack every day.

27. Mr. Smith has complied with the notice requirements under D.C. Code §12-3()9.

Liability of the District of Columbia
28. Defendant, who attacked and arrested Mr. Smith as described above, was and is
an MPD Ofiicer who acted under color of law and within the scope of his employment
29. The arrest and detention of Mr. Smith was caused by a District of Columbia
policymaker or a District of Columbia officer exercising delegated policymaking authority, or

were pursuant to a District of Colurnbia custom, policy, or practice of allowing police officers to

arrest and detain civilians.

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 11 of 21

, ..,» .-_. .
1 t.a"~'.._t. ,

'30‘~' Plaintiff suffered numerous injurie§"and damages, including but`not"limited;t"ciw& h
following, as a direct and proximate result of the customs, policies, and practices of the MPD:
physical injury; mental anguish; and deprivation of freedom.

COUNT 1: Assault

31. Plaintiff incorporates by reference Paragraphs l through 30, as if fully set forth
and repeated herein.

32. Defendant D.C.’s police officer, Offlcer O’Mahoney, without proper grounds,
willfully and maliciously struck Mr. Smith around his face and placed him in bonds. This was
done so while Mr. Smith offered no immediate threat to anyone and while he was fully
complying with Defendant’s demands

33. As a direct and proximate result of the willful, malicious, and intentional actions
of the officer, and due to the failure of the OHicer John Does to prevent this illegal action from
taking place, Mr. Smith was put in apprehension of an unlawful battery and serious physical
harm. 1

34. Said conduct was outrageous, intentional, wanton, and carried out with actual
malice, deliberate violence, with the intent to injure Mr. Smith, with willful disregard of his
rights, and with reckless disregard for his safety.

35. As a result of Defendant’s conduct and action, Mr. Smith has suffered and will
continue to suffer severe mental anguish, emotional distress, paid and personal injuries to his
body.

COUNT 2: Battery
36. Plaintiff incorporates by reference Paragraphs l through 35, as if fully set forth

and repeated herein.

 

  

    

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 12 of 21

r'37." " Defendant D.C.’s police"officer, Officef O’Mahoney, without proper*:groun~ds," y
willfully and maliciously beat Mr. Smith around his face and placed him in bonds. This was
done so while Mr. Smith offered no immediate threat to anyone and while he was fully
complying with Defendant’s demands

38. As a direct and proximate result of the willful, malicious, and intentional actions
of the officer, and due to the failure of the Officer John Does to prevent this illegal action from
taking place, Mr. Smith suffered extensive damage to his person, including facial injuries,

neurological damage, pain, and mental anguish that continues to date.

COUNT 3: False Arrest

39. Plaintiff incorporates by reference Paragraphs l through 38, as if fully set forth

and repeated herein. 3

40. Mr. Smith had done nothing that amounted to any probable cause to arrest or

reasonable suspicion

41. Defendant, by striking Mr. Smith placing him in restraints, and then forcing him

into his squad car, acted beyond the scope of his powers and Without justification, and prevented

Mr. Smith from moving.

42. As a result, Mr. Smith was falsely arrested, and had his rights severely impinged.

COUNT 4: False Imprisonment

43. Plaintiff incorporates by reference Paragraphs l through 42, as if fully set forth

and repeated herein.

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 13 of 21

, "’ *‘"' M. ’“" 'Mr. Smith`had done nothing that amounted to any probable`cause:`td‘arrest or f
reasonable suspicion
45. Defendant, in arresting Mr. Smith, acted under authority of his status as a police
officer.
46. Defendant, by striking Mr. Smith placing him in restraints, and then forcing him
into his squad car, acted beyond the scope of his powers and without justification
47. As a result, Mr. Smith Was falsely imprisoned, and had his rights severely

impinged.

COUNT 5: Negligence

48. Plaintiff incorporates by reference Paragraphs l through 47, as if fully set forth
and repeated herein.

49. At ali relevant times herein, D.C. had a duty to employ only reasonable measures
in their interaction with and treatment of Mr. Smith.

50. In disregard of said duties, Defendant and D.C. through its employees and/or
agents negligently took police action in viciously striking Mr. Smith while he was complying
with the Defendant’s demands, and therefore used unlawful, excessive, and unreasonable force
on Mr. Smith, since no force whatsoever was warranted under the circumstances

51. D.C., acting under color of law, approved and/or condoned the negligent actions
of Defendant, and thus any and all liability for the actions of Defendant is imputed to D.C.

52. As a direct and proximate result of the negligence of Defendant and D.C., Mr.

Smith was severely injured and continues to suffer the adverse effects mentioned above.

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 14 of 21

"COUNT“G‘." Négiigen¢ Training and supervision
53. Plaintiff incorporates by reference Paragraphs l through 52, as if fully set forth
and repeated herein.

54. At all times relevant herein, Defendant was acting under the direction and control,

 

and pursuant to the rules, regulations, policies, and procedures of D.C.

55. D.C. acted negligently and with deliberate indifference by its continued failure to
supervise, properly train, control, direct, and monitor officers in their duties and responsibilities
Specifically here, D.C. failed to place guidelincs, rules, or regulations which would have guided
the conduct of officers who make traffic stops.

56. D.C., though aware of this problem, has failed to take steps to alleviate this
problem.

57. As a direct and proximate result of the acts and omissions of D.C., Mr. Smith

suffered severe injuries as stated above. `

COUNT 7 : Negligent Hiring
58. Plaintiff incorporates by reference Paragraphs l through 57, as if fully set forth
and repeated herein.
59. At all times relevant herein, D.C. did employ agents, employees, officers, staff,
administrators, representatives, servants and maintenance personnel, and said Defendant
exercised jurisdiction and control over the procedures which said agents, employees, officers,

staff administrators, representatives, servants and maintenance personal had the privilege to

perform. D.C. determined the qualifications and lack of qualifications of said personnel relating

 

 

  

    

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 15 of 21

_to those'duties which were devised by D.C. for the agents,“erriployees,'ofticers, staff, " 4
administrators, representatives, servants and maintenance personnel.

60. At all relevant times D.C. negligently hired, trained, supervised and/or retained its
employee, servant, staff member or agents, who inflicted the severe injuries upon Mr. Smith.

61. D.C., with the assistance of its employees and agents, allowed for the severe
injuries complained of, and did so with deliberate indifference to Mr. Smith’s wellbeing.

62. As a direct and proximate result of D.C.’s negligence, Mr. Smith suffered bodily
injury that is permanent within a reasonable degree of medical probability and resulting pain and

suffering, mental anguish. The losses are either permanent or continuing and Plaintiff will suffer

the losses in the future.

COUNT 8: Deprivation of Civil Rights, 42 U.S.C. §1983

63. Plaintiff incorporates by reference Paragraphs l through 62, as if fully set forth
and repeated herein.

64. Mr. Smith further alleges that Defendant, with deliberate indifference to and
reckless disregard for the safety and well-being of Mr. Smith, and in violation of the 4th and 5th
Amendments to the Constitution, did commit acts which deprived Mr. Smith of his
Constitutional rights without affording him due process of law.

65. As a direct and proximate result of the actions of Defendant, Mr. Smith was

injured and suffered deprivation of his personal freedom and property under the color of police

action

 

   
  
   
  
   
  
  
   
  
   
 
  
  
  
  
   
   
  
  
     

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 16 of 21

‘ ' ` " COUNT 9: Inte"ntional In'flicti'on of Emotional Distress
66. Plaintiff incorporates by reference Paragraphs l through 65, as if fully set forth
and repeated herein.
67. Defendant engaged in outrageous conduct towards Mr. Smith by striking him with
no justification for doing so, and with the intention to cause or with reckless disregard for the
probability of causing Mr. Smith to suffer severe emotional distress
68. Defendant committed the acts alleged maliciously and oppressively, with the
wrongful intention of injuring Mr. Smith, from an improper and cruel motive amounting to
malice and in conscious disregard of Mr. Smith’s rights, entitling Mr. Smith to recover punitive
damages

Wl-IEREFOR_E, Plaintiff respectfully prays that this Court enter judgment against

Defendants and the District of Columbia, and each of them, for:

l. General, compensatory, and special damages to be proven at trial but amounting
to at least $2,000,000; -

2. Punitive Damages to be proven at trial;

3. Reasonable attorney’s fees and costs;

4. Such other relief as the Court deems just and proper.

JURY TRIAL DEMAND

Plaintiff hereby demands a jury trial on all issues so triable.

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 17 of 21

Res'pectfirilyiSubmitted,

f____,,.....\\
\ `,~
\ »*”
‘» .~
_`___..~.~...-~.~...~.§~_` fe

§,?‘\

x"
sr \

\
¢'

RiM\IaPnai;-#F£Sq-
Bar #499813

1629 K St., NW, Suite 300
Washington, DC 20006
(571) 276-9681
rich.tappan@gmail.com
Counsel for Plaintz']j`

 

Veriiication of Complaint

I, ANTHONY SMITH, being duly sworn under oath, solemnly swear or affirm under
criminal penalties for the making of a false statement that l have read and signed the foregoing
and that the factual statements made in it are true to the best of my personal knowledge,
information, and belief.

2/29/1 6
Date

/s/Anthony Smith
Anthony Smith, Plaintiff

 

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 18 otr-lied

D.C. Superior Court
02/2!/2016 2|:5!PM

Superior Court of the District of Colurlibia°f"""“°“€°“**‘"‘: `

CIVIL DlVlSlON- ClVIL ACTIONS BRANCH
INFORMAT¥ON SHEET

 

fain/in i §iiii"?_i"i@ CaSeNumben 2016 CA 001499 B
v f VS Date: 2 "" 31 § J"/ a
high 1`6') cir §~:DjVWL/.é~i j UI` lti ~ l%ne of the defendants is being sued

in their official capacity.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Namc: (`Please Pri)zt) ;) .. - t Relationship to Lawsuit
~' 1
”~ ~ . " .. '~' `.`<.-'i’\ . .
,. , _ j f"£i‘%`j j ”7:‘ fdic IE/Attorney for Plaintiff
l~irr_n l\amc. a § ` ‘_ § >` _ `_
Tlit /.ii.c- §iii'¢» ij di rpi okay j Z;i ir`?.M~“\-i |:1 self (.i>ro so)
’I`elep_honc No.: o Six digit Unitied Bar No.: m Othcr_
sii~»i:ir»»~irai ramos j ~»~»
TYPE GF CASE: |:i Non-Jury m 6 Person Jury [:'3 12 Person Jury
Demand: $ 2,000; 5§§,,§§ Other:
PENDlNG CASE(S) RELATED TO THE ACTION BEING FlLED
Case No.:_________ Judge: ___ Calendar itme _________________________
Case No.:__`__`__ Judge: ___“_____m__ Ca| endar#: ___________________________________________ g
NATURE OF SUIT: (Check One Box Only)
A. CONTRACTS COLLE(,'I'ION CASES
[:1 01 amoco of Conoooi E] 14 finder $25,000 Pnf. arms consent l:l 16 Undor 325,000 consent oonieo
El 02 Breach ot` Warranty m 17 OVER 525,000 Pltf. Grants Consent[:l 18 _OVER $25,000 Consent I)enied
[:l 06 Negotiable lnstrument l:] 27 lnsurance/'Subrogation [:] 26`lnsurance/Subrogation
[:| 07 Personal Property Over $25,000 Pltf. Grants Consent Over $25,000 Consent l)enied
[:| 13 Employment Discrimination [`_`| 07 Insurance/Subrogation 1334 Insurance/Subrogation
[:] 15 Special Education ,Fees Under $25,000 Pltf. Grants Consent U,nder $25,000 Consan .Denied
28 Motion to Confinn Arbit.ration
Award (Collection Cases Only)
B. ,PROPERTY TOR TS
m 01 Automobile l:l 03 Destruction of .Private Property m 05 'l`respass
l:l 02 Conversion m 04 P`roperty Damage
m 07 ShopliRing,'D'.C. Code § 27-|02 (a)
C. PERSONAL TORTS
m 01 Abuse of Process m 10 lnvasion of Privacy 13 17 Perso_nal lnjury- (Not Automobile,
[:] Alienation ofAt`fection l:`l ll Libel and Slander Not Malpractice)
|E' 03 Assault and Battery l.:] 12 Malicious lnterference m lBWrongful Death (Not Malpractice)
l:l 04 Automobile- Personal Injury l:] 13 Malicious Prosecution E 19 Wrongfiil Eviction
l:| 05 vDeceit (Misrepresentation) m 14 Malpractioe legal m 20 Fn'endly Suit
E| 06 Ealse Accusation l:}l$ anrnoiioo Modion nonunion wrongrni own l:_l 21 Asbestos
[] 07 False Arrest [:] 16 Negligence~ (Not Automobile, ij 22 Toxic/Mass Torts
m 08 Fraud Not Malpractice) m 23 'fobacco
E| 24 Lead Paint

 

 

 

SEE R.EVERSE SIDE AND Cli"}.'ICK HER.E IF USED

CV-496/June 2015

 

 

 

 

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 19 of 21

..… d ) lnfOl:matiO~nShee:t~,»-QQntmued . ~¢

 

 

[:1 06 Foreign Judg,ment/Domestic l:l 19 Enter Administrative Order as
13 08 Foreign Judgmenuiniemaiional iudgmem [ D.c. code §

m 13 Correction of Birth Ceitificate 2-1802.03 (h) or 32-151 9 (a)]
[:_1 14 Com:ction of Marriage l:l 20 Master Meter (I).£`.. Code §
Cenificate 42-3301, et seq.)

m 26 Petition for (.`.ivil Asset Forfeiture (Vehicle)
[:l 27 I’etition for Civil Asset Forfeiture (Currency)
1:1 28 Pemi<m for civil Assei Forfeiwre (ocher)

C. OTHERS
m 01 Accounting m 17 Merit Personnel Act (OEA)
[:1 02 Alt. Before Judgment (I).C. Code Title l, Chapter 6)
[:] 05 Ejectment m 18 Froduct liability
m 09 Special Writ/Warrants
(DC Code § 11-941) l:| 24 Appiication to Confimi, Modify,
m 10 Traffic Adjudication Vacate Arbitration Award ('DC Code § 16-4401)
E 11 Writ of`Replevin l:l 29 Merit Personnel Act (OI~IR)
l:] 12 Enforce Mechanics lien l.___.l 31 Housing Code Regulations
§ 161)ec1aratory ludgment l:] 32 Qui Tam
E] 33 Whistleblower
II.
l:l 03 Change ofName l::l 15 Libel oflnfom\ation E 21 Petition for Subpoena

[Rule 28-1 (b)]
13 22 Release Mechanics lien
1:1 23 Rule 27(3)(1)
(Perpetuate Testimony)
l:l 24 Petition for Stmotured Settlement
[::1 25 Petition for liquidation

 

D. REAL PROPERTY

13 09 Real Propeity-R,eal Estate l:l 08 Quiet Title

l:] 11 Petition for Civil Asset Forf`eiture (RP)

 

[:1 12 Specific Pérformanoe l:l 25 Liens: Tax / Water Consenl Granted
{:] 04 Condemna_lion (Eminent Domain) l:l 30 Liens: Tax/ Water Consent Denied
[:| 10 Mortgage Foreclosure/Judicial Sale l:l 31 Tax Lien Bid Off Certiiicate Consent Granted

 

 

/

/
1' “\~
1

 

2 f 27- €S’“'/,.é’>

 

l
\\ Attomey’s Signar-.ire \l

\
\\_.......-¢‘

CV~496/ Jun€ 2015

Date

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 20 of 21

mmammr_l:aacasssaam R»r-_Cms% ma

, U…
Superior Court of the District of Cqu l§l\BRm= co COLUll“lBlA

 

 

 

 

Civil Division
mm 22 PH 5' 01

Anthony Smith Attomey: Richard J. Tappan

Plaintiff(S). __/_.,-é:E‘/-/d Richardél. Taptl)\]anw S 300

1629K treet t
VS' a AF§"NS 3 gANCHw?shingcon Dc 200€)6ui c
' civiLC

…*“‘“““" M 22 ““`° lllll ||l|l ll l ll||l ll ll ||ll l|l| llll

Defendant{ _

§ SSP;:::C€’£§M what *200636*
1

Legal documents received by Same Day Process Service, lnc. on 03/17/2016 at 10:05 AM to be served upon The
District of Columbia, by serving Karl A. Racine, Attorney General at 441 4th Street NW, Suite 800 S,
Washington, DC 20001

I, Robert Briggs-Snodgrass, swear and affirm that on March 18, 2016 at 3:15 PM, I did the following:

Served The Dlstrict of Columbia, by serving Karl A. Racine, Attomey General by delivering a conformed copy of
the lnitial Order and Addendum; Summons (English and Spanish Versions); Complaint; Information Sheet to
Darlene Fields as Staff Assistant & Authorlzed Agent of The Dlstrict of Columbia, by serving Karl A. Racine,
Attomey General at 441 4th Street NW, Suite 800 S , Washington, DC 20001.

Descriptlon of Person Accepting Service:
Sex: Female Age: 45 Height: 5ft4in-5ft8in Weight: 131-160 lbs Skin Color: Brown Hair Color: Black

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

Rnbert Briggs-Snodgrass
Process Server

Same Day Process Service, lnc.
1413 K St., NW, 7th Floor
Washington DC 20005 ,,\\\\'m%""n,,

(202)-398-4200 District of Colu(&$€`
Subscrib and "
Intemal Job lD: 200636 _ ‘
'b

     
      

My eommlss|o 93§15 ~`

l'Nlnl\\\\"`

Case 1:16-cv-OO724-API\/| Document 1-1 Filed 04/18/16 Page 21 of 21

to
AEHDAYIUMQ_CES.S_SEMB of 'fl~\F.
1%§)%$ §§ uHB\P*

 

 

 

 

 

 

Superior Court of the Distric§%kp l'
civil Division 5._ gu
Rzz P“
zo\t \'ll-‘\
Anthony Smith / Attorney: Richard J. Tappan
Plaintiff( ) FILEDBRANCH Rj h dJ q~
', c ar . appan
VS l CIVIL AC“ONS 1629 K street N.w., suite 300
' l 2016 Washington DC 20006
\ § AR 22 _.
… F\ulll llllllll llll\ lull
Defendant Sl' D§ashington,D.C. *200633*
_._-_____________

Case Number: 2016 CA 001499 B

l..egal documents received by Same Day Process Service, Inc. on 03!17!2016 at 10:07 AM to be served upon The
District of Columhia, by serving Mayor Murlel Bowser at 441 401 Stroet NW, Suite 800 S, Washlngton, DC
20001

I, Robert Briggs-Snodgrass, swear and affirm that on March 18, 2016 at 3:15 PM, I did the following:

Served The District of Columbia, by serving Mayor Muriel Bo\vser by delivering a conformed copy of the lnitial
Order and Addendum; Summons (English and Spanish Versions); Complaint; Informatlon Sheet to Darlene
Flelds as Stafl` Asslstant & Authori'ned Agent of The District of Columhla, by serving Mayor Murlel Bowser at
441 4th Street NW, Suite 800 S , Washington, DC 20001.

Description of Person Aecepting Service:
Sex: Fernale Age: 45 Height: 5f14in-5ft8in Weight: 131-160 lbs Skin Color: Brown Hair Color: Black

Supplemental Data Appropriate to this Service:

l declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

/%,»¢/1/

 

 
      
 
   

  
 
 

Robert Briggs-Snodgrass
Process Server
Same Day Process Servlcc, Inc.
1413 K St., NW, 7th Floor
Washington DC 20005 _
(202)-398-4200 \`\\\'""m}
District of col `;Q!;$,.!{F;;"»,,

mcemal Job ID: 200638 subscribed ;,. . _ ." ¢_Q_ heights

5 . . . »‘ _ . /J

  
 

